           Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 1 of 26



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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH

ANNA PETERSON, an individual, and                 )
MARY HOLLENBAUGH, and individual,                 )   COMPLAINT AND DEMAND FOR
                                                  )   JURY TRIAL
        Plaintiff.                                )
                                                  )   Case No. _______________
v.                                                )
                                                  )   Judge: __________________
UTAH STATE UNIVERSITY, UTAH                       )
STATE BOARD OF REGENTS, UTAH                      )
STATE UNIVERSITY BOARD OF                         )
TRUSTEES, KRYSTIN DESCHAMPS, an
individual, JENNY ERAZO, an individual

        Defendants.


        COME NOW the Plaintiffs, Anna Peterson, and Mary Hollenbaugh who for a cause of

action allege and complain as follows:

        Status of the Parties

     1. The Plaintiff, Anna Peterson, is a resident of the State of Utah and at all relevant times

        herein was a student at Utah State University.

     2. The Plaintiff, Mary Hollenbaugh, is a resident of the State of Utah.

     3. Defendant Utah State University (“USU”) is a public postsecondary educational

        institution located in Logan, Utah. Utah State is a political subdivision or entity of the


COMPLAINT AND DEMAND FOR JURY TRIAL - 1
        Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 2 of 26



     State of Utah. Utah State is organized and operated under the laws of the State of Utah

     and is a recipient of federal funds under 20 U.S.C. § 1681.

  4. Defendant Board of Regents is the governing body for the Utah System of Higher

     Education granted power to control and manage the system of higher education by the

     Utah Legislature. The board is a political subdivision or entity of the State of Utah under

     the laws of the State of Utah and is a recipient of federal funds under 20 U.S.C. § 1681.

  5. Defendant Krystin Deschamps was, at all relevant times, a citizen of Utah and was

     employed by USU as its Student Conduct Coordinator and Assessment Specialist.

  6. Defendant Jenny Erazo was, at all relevant times, a citizen of Utah and was employed by

     USU as the coordinator for USU’s Sexual Assault and Anti-Violence Information

     (“SAAVI”) office.

     Jurisdiction and Venue

  7. To the extent it is applicable to any claim stated herein, the Plaintiffs have complied with

     the requirements of the Utah Governmental Immunity Act, Utah Code § 63G-7-101 et

     seq.

  8. This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. § 1332

     because this litigation involves matters of federal law including claims made under the

     Education Amendments of 1972 (Title IX), 20 U.S.C. § 1681 et seq. and claims made

     under 42 U.S.C. § 1983 et seq.

  9. This Court has jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.




COMPLAINT AND DEMAND FOR JURY TRIAL - 2
        Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 3 of 26



                                      BACKGROUND

  10. Prior to and during the predatory sexual assaults at issue in the present case, a dangerous

     environment existed at Utah State University where sexual assaults were known about

     and tolerated by the University and the individual defendants.

  11. Neither the University nor the individual defendants properly investigated accusations

     made against students or take appropriate remedial actions to ensure that all students

     were afforded equal access to the University’s educational opportunities.

  12. For example, in early 2015, a USU student was sexually assaulted by another student,

     Ryan Wray, during a fraternity party.

  13. USU learned of this incident but failed to properly investigate or take appropriate

     measures to ensure the safety of its students and prevent similar assaults from happening

     in the future.

  14. By way of further example, some time prior to July 2015, five women reported being

     sexually assaulted by another USU student, Jason Relopez. USU failed to investigate,

     discipline or remove Relopez from the USU campus in order to ensure the safety of USU

     students.

  15. Wray was convicted of attempted forcible sexual abuse in October of 2015.

  16. Relopez was convicted of attempted rape and attempted forcible sexual abuse in February

     of 2016.




COMPLAINT AND DEMAND FOR JURY TRIAL - 3
        Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 4 of 26



                               GENERAL ALLEGATIONS

  17. It was in this environment that the Plaintiff, Mary Hollenbaugh, met Torrey Green in

     November of 2013.

  18. Ms. Hollenbaugh was on USU campus doing volunteer research with the school’s

     Psychology Department in hopes that it would lead to admission to USU’s PhD

     Psychology Program.

  19. Green gained Ms. Hollenbaugh’s trust by speaking about his status as a student at USU

     and a member of the school’s football team.

  20. Ms. Hollenbaugh did in fact trust Green more because of his status as a student at USU.

  21. Ms. Hollenbaugh first met Green on the USU campus in the MerrilCazier library where

     Ms. Hollenbaugh spent most of her time.

  22. When Ms. Hollenbaugh and Green met a second time in November of 2013 at Green’s

     apartment, Green sexually assaulted her.

  23. After the assault, Ms. Hollenbaugh experienced severe emotional disturbance and anger.

     As a consequence, she suffered the strain and loss of relationships both romantic and

     friendly.

  24. During this time, Ms. Hollenbaugh saw Green on campus multiple times, causing her

     serious anxiety and depression.

  25. Despite Plaintiff’s anxieties and fears, Ms. Hollenbaugh attempted to continue her

     education and was admitted to USU’s psychology PhD program in the Fall of 2014.

  26. Unfortunately, the sexual attack, the knowledge that her attacker was still on campus, the

     knowledge that her attacker had not been investigated or monitored, and the hostile




COMPLAINT AND DEMAND FOR JURY TRIAL - 4
        Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 5 of 26



     environment his presence created led to Ms. Hollenbaugh becoming depressed and

     anxious to an extent that precluded her from accessing educational opportunities at USU.

  27. Due to this anxiety and depression, Ms. Hollenbaugh found it so difficult to refrain from

     crying or otherwise breaking down in class that she was unable to pay attention or

     participate in class discussions.

  28. Over the course of the Spring 2015 semester, Ms. Hollenbaugh’s anxiety and depression

     worsened until she found herself unable to attend classes or meetings for her program.

  29. Ms. Hollenbaugh was unable to register for PhD classes in the Fall of 2015 due to the

     ongoing psychological and emotional trauma from the sexual assault perpetrated by

     Green and enabled by the inaction of the University and its individual defendants.

  30. The PhD program to which she had been accepted and planned on completing was

     intended to last 5 years, and would have ended in the Spring of 2019.

  31. In October of 2014 another female USU student, C.D., met Torrey Green on the USU

     campus.

  32. Shortly thereafter, she was raped and sexually assaulted by Green in his apartment.

  33. Upon information and belief, C.D. reported the rape to a professor at USU as well as the

     school’s Title IX office.

  34. USU failed to investigate Green or implement appropriate remedial action to ensure the

     safety of its students.

  35. In January, 2015 yet another USU student, V.G., came into contact with Torrey Green on

     the USU campus.

  36. V.G. also agreed to meet with Green at his apartment.




COMPLAINT AND DEMAND FOR JURY TRIAL - 5
        Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 6 of 26



  37. After luring V.G. to his apartment, Green sexually assaulted her while they were

     watching television.

  38. V.G. reported the sexual assault later that same month to her resident assistant, the

     supervisor of her dormitory complex, and USU’s SAAVI office.

  39. Upon information and belief, the resident assistant and dormitory complex supervisors

     reported these accusations to the school’s Title IX Office.

  40. Officials in the SAAVI office discouraged V.G. from contacting the school’s Title IX

     office directly and in an attempt to discourage her from pursuing the matter further, told

     her that if she did contact the Title IX office, the University would take over the

     investigation and do whatever they wanted regardless of her wishes.

  41. V.G. then reported the assault to the Logan City Police.

  42. V.G. left USU on February 1, 2015 shortly after contacting the SAAVI office.

  43. Utah State University, through its SAAVI office, its Title IX office, and its resident

     assistants and dorm supervisors were aware of the assault perpetrated upon V.G.

  44. Again, USU failed to investigate Green, implement appropriate remedial action or

     remove Green from campus to ensure the safety of its students.

  45. On the contrary, in the summer of 2015, USU once again renewed, or otherwise failed to

     revoke, Green’s athletic scholarship for the upcoming year in order to promote the

     success and revenue generating ability of their football team.

  46. In June, 2015 yet another female USU student, the Plaintiff Ms. Peterson, met Green.

  47. Ms. Peterson began speaking with Green only because they were both students at USU,

     and due to Green’s status as a member of the university’s football team.




COMPLAINT AND DEMAND FOR JURY TRIAL - 6
        Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 7 of 26



  48. During conversations between the two and in order to gain Ms. Peterson’s trust, Green

     repeatedly emphasized the fact that he was a student at USU, a member of the USU

     football team, and attended a class with one of Ms. Peterson’s friends.

  49. Ms. Peterson did in fact place greater trust in Green because he was a student, a member

     of the school’s football team, and attended classes at USU.

  50. Shortly after they first spoke, Green came to Ms. Peterson’s apartment and sexually

     assaulted her.

  51. Ms. Peterson would not have allowed Green into her apartment if it had not been for his

     status as a student and student-athlete at USU.

  52. After the sexual attack, Ms. Peterson was unable to sleep, was unable to attend classes,

     and eventually moved back to Salt Lake to live with her family due to fear of seeing her

     rapist on campus and the defendants’ failure to take remedial action.

  53. In September 2015, Ms. Peterson was hospitalized for an infection (pelvic inflammatory

     disease) which was identified by Ms. Peterson’s OBGYN as having been caused a certain

     sexually transmitted disease.

  54. In October 2015, Ms. Peterson was hospitalized again due to the same infection resulting

     in appendicitis and an appendectomy.

  55. Green has admitted to having the infectious disease identified by Ms. Peterson’s OBGYN

     at the time he assaulted Ms. Peterson.

  56. In October 2015, Ms. Peterson reported the assault to USU’s SAAVI and Title IX offices

     as well as Krystin Deschamps.

  57. Once Deschamps was made aware that Green was a member of the USU football team

     during their meeting, she actively discouraged Ms. Petersonfrom telling her his name.


COMPLAINT AND DEMAND FOR JURY TRIAL - 7
        Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 8 of 26



  58. Deschamps told Ms. Peterson that if she did so, Ms. Peterson would have to be personally

     present at every hearing and any and every disciplinary action that might come about.

  59. Deschamps told Ms. Peterson there was no way to make a report to her anonymously and

     that the school couldn’t protect Ms. Peterson from retaliation by Green if she did report

     his name.

  60. Deschamps told Ms. Peterson that she could instead report to SAAVI who would then

     report to her.

  61. At the direction of the members of the SAAVI office, Ms. Peterson also met with an

     Americans with Disabilities Act Counselor at USU. Ms. Peterson informed this counselor

     of the nature of the attack perpetrated upon her and that it was Green who had done it.

  62. Upon information and belief, by the time Ms. Peterson reported to the University,

     officials at the university who had authority to investigate and/or institute remedial

     measures on behalf of the University had already received several reports concerning

     sexual harassment and/or sexual assaults committed by Torrey Green, including, but not

     limited to, the reports made by C.D. and V.G.

  63. Indeed, upon meeting with school officials, Ms. Peterson was told directly that they had

     already received multiple accusations of sexual assault against Green.

  64. As of the date of this Complaint, Ms. Petersonhas still not graduated from college.

  65. Ms. Peterson has been diagnosed with post-traumatic stress disorder as a result of the

     attack.

  66. Ms. Peterson continues to suffer from nightmares, health problems, difficulty eating, and

     other severe effects.




COMPLAINT AND DEMAND FOR JURY TRIAL - 8
        Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 9 of 26



  67. In November, 2015, another female student and student-athlete at USU, R.E., was

     sexually assaulted by Torrey Green.

  68. R.E. reported the assault to USU’s SAAVI office as well as the school’s Title IX office

     that same month.

  69. Upon information and belief, R.E. had a rape kit performed immediately or soon after the

     attack and the results of the rape kit were reported to USU.

  70. On January 15, 2016, Eric Olsen and the head coach of the football team, Matt Wells,

     met with Green concerning the allegation of rape made by Plaintiff.

  71. At the meeting, Olsen and Wells asked Green if the allegation of sexual assault was true.

  72. However, following the meeting, neither Olsen, Wells, nor any person from Utah State

     University conducted the necessary further factual investigation of the multiple

     allegations made against Green to determine their validity.

  73. Torrey Green, during all relevant periods, was a student at USU and a scholarship

     receiving member of the school’s football team.

  74. At no point did USU actively investigate Green or the accusations made against him.

  75. Green was never academically disciplined by the University and was never removed from

     campus.

  76. Indeed, the University allowed Green to remain a member of the USU football team and

     a student at USU until his graduation in May of 2016.

  77. On January 18, 2019, Green was found guilty of five counts of rape, one count of sexual

     battery, one count of object rape, and one count of forcible sexual abuse.

  78. This included a finding of guilt for the rape of the Plaintiffs.




COMPLAINT AND DEMAND FOR JURY TRIAL - 9
       Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 10 of 26



  79. At all relevant times, students enrolled at USU, including Green, were subject to the

     Code of Policies and Procedures for Students at Utah State University (“Student Code”)

  80. The Student Code prohibited, both on and off campus, “inflicting physical or mental

     duress, harm, or abuse upon another person, including but not limited to verbal abuse,

     threats and intimidation, … [and] sexual violence...” See Utah State University’s Code of

     Policies and Procedures for Students.

  81. Utah State’s Student Code promised that: “Utah State University will not tolerate sexual

     assault/violence in any form, including incidents which arise in acquaintance and date

     situations. Where there is reasonable cause that a sexual assault/violence has occurred,

     the University will pursue strong disciplinary action, including the possibility of

     suspension or expulsion from the University.” Id.

  82. At all relevant times, student-athletes enrolled at USU, including Green, were subject to

     the provisions of the Utah State Student Athlete Handbook (“Athlete Handbook”).

  83. The Athlete Handbook applied to behavior “both on and off campus” and set forth the

     following acts as subject to disciplinary action: “[e]ngaging in harassment or unlawful

     discriminatory activities on the basis of age, ethnicity, gender…”; and any conduct

     “contrary to the athletics department and university standards…” See Utah State’s

     Student Athlete Handbook 2015-2016.

  84. The athlete handbook also emphasizes that the University, and/or the athletic team to

     which the athlete belongs, had the power to suspend or entirely dismiss the student-

     athlete for “any physical or sexual contact that is accomplished against the will of another

     person.” Id.




COMPLAINT AND DEMAND FOR JURY TRIAL - 10
       Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 11 of 26



  85. USU exercises substantial control over enrolled students on and off campus through its

     Student Code of Conduct.

  86. USU also exercises substantial control over student-athletes both on and off campus

     through its Athlete Handbook policies.

  87. Indeed, the existence of Utah State’s Student Code and Athlete Handbook specifically

     recognizes Utah State’s interest, ability, and role in curbing sexual assault, harassment

     and violence, both on and off campus.

  88. Further, in its policy on sexual assault and violence, USU expressly committed to

     “investigate all reported incidents of sexual harassment” and, in cases where evidence

     from the investigation revealed that sexual harassment, including dating violence and

     sexual assault, had occurred, to impose appropriate sanctions upon students including

     suspension from Utah State. See Utah State University’s Policy on Sexual Harassment.

  89. In 2016, USU instituted a 3rd party investigation into their policies and reporting

     procedures following the institution of legal proceedings against Green. See USU Update

     on 2016 Recommendation to Improve Sexual Violence Prevention Efforts.

  90. This report revealed egregious flaws in USU’s policies and training of employees. Id.

  91. The investigation found, among other flaws and failures, that:

         a.   “The departments responsible for investigation, adjudication, discipline, and

              advocacy had poor and irregular communication” which contributed to

              shortcomings in response efforts.

         b. Due to “inadequate and inconsistent training” employees did not understand their

              Title IX reporting obligations.




COMPLAINT AND DEMAND FOR JURY TRIAL - 11
       Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 12 of 26



         c. Inadequacies in the policies and procedures enacted for keeping track of reports

              led to a failure to respond to reports made.

         d.   The University failed to establish clear procedures and train employees “for how

              to evaluate whether an investigation should move forward” under certain

              circumstances.

         e. The Student conduct office failed to take appropriate actions and this failure

              prevented certain instances of sexual conduct from being investigated. Id.

                               COUNT ONE
VIOLATION OF THE EDUCATION AMENDMENTS OF 1972 (TITLE IX), 20 U.S.C. §
1981 et seq. AS TO ANNA PETERSON v. DEFENDANTS UTAH STATE UNIVERSITY,
                 BOARD OF TRUSTEES, AND BOARD OF REGENTS

  92. The Plaintiffs reallege all preceding paragraphs as if fully set forth herein and

     incorporates them by reference.

  93. The funding recipients exercised significant control over the harasser, Torrey Green,

     including but not solely through its disciplinary authority over its students through the

     Student Code, its disciplinary authority over student-athletes through the student-athlete

     code of conduct, its policies on sexual harassment, its control of scholarships, and student

     athlete sexual assault and misconduct policies.

  94. Defendants were aware of sexual misconduct and harassment by Torrey Green before the

     assault occurred on plaintiff. Through its actions and inactions, Defendants created a

     climate where such misconduct was tolerated and encouraged repeated harassment which

     proximately caused injury and a violation of plaintiff’s Title IX rights.

  95. Defendants through their employees and administrators, including but not limited to,

     Jenny Erazo, the SAAVI OFFICE, the USU Title IX Office, USU Resident Assistants,

     and USU dorm supervisors had actual knowledge of the sexual assaults perpetrated by

COMPLAINT AND DEMAND FOR JURY TRIAL - 12
       Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 13 of 26



     Torrey Green and actual knowledge of the risk Torrey Green represented to the students

     of USU.

  96. Persons at USU with actual knowledge had authority to take remedial action on behalf of

     the recipients.

  97. By its actions and inactions prior to the Peterson’s injury, Defendants acted with

     deliberate indifference to the rights of Plaintiff and other female students to a safe and

     secure educational environment free from discrimination, thus depriving plaintiff of equal

     access to the educational opportunities of the University.

  98. Specifically, Defendants violated Title IX by:

         a. Refusing to take action to protect Peterson and other female Utah State students,

             despite knowledge of a need to supervise, discipline, warn, or take other

             corrective action to prevent future sexual assault and/or rape by Torrey Green

         b. Allowing Green to remain a student at Utah State or, alternatively, being

             deliberately indifferent to, despite allegations of sexual assault against Green;

         c. Refusing to enforce its own policies and requirements for students, or,

             alternatively, being deliberately indifferent to the enforcement thereof;

         d. Refusing to enforce its own policies and requirements for athletes, or,

             alternatively, being deliberately indifferent to the enforcement thereof;

         e. Actively facilitating Green’s presence in Logan and on the USU campus by

             granting and renewing Green’s scholarships.

         f. Actively facilitating Green’s ability to persuade female students at USU to trust

             him due to his status as a student at USU and member of the USU football team

             by failing to revoke such status despite repeated allegations from multiple


COMPLAINT AND DEMAND FOR JURY TRIAL - 13
         Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 14 of 26



             different victims, of sexual assault against Green, or alternatively being

             deliberately indifferent thereto.

          g. Creating a climate that tolerated sexual assault and other misconduct by students

             generally and Green specifically, or, alternatively being deliberately indifferent

             thereto;

          h. Enacting and perpetuating an official policy or custom of deliberate indifference

             toward providing adequate training or guidance obviously necessary for

             implementation of the specific programs and policies of the recipient.

          i. Failing to implement policies and procedures to ensure compliance with Title IX,

             or, alternatively, being deliberately indifferent thereto;

          j. Failing to warn students of the known danger of sexual assault posed by Green;

          k. Failing to take appropriate action against Green for misconduct in violation of its

             own Student Code, or, in the alternative, being deliberately indifferent thereto;

          l. Failing to take appropriate action against Green for misconduct in violation of its

             own athlete handbook, or, in the alternative, being deliberately indifferent thereto;

          m. Failing to take reasonable measures to investigate and verify the report of sexual

             assault and abuse by Green, and;

          n. Through other actions, inactions, and deliberate indifference.

  99. Defendants’ actions, inactions, and deliberate indifference subjected Peterson to

     harassment and discrimination, including sexual assault, rape, and deprivation of a safe

     educational environment.

  100.       By its actions and inactions after the rape of Peterson, Defendants acted with

     deliberate indifference to the Peterson’s right to a safe and secure educational


COMPLAINT AND DEMAND FOR JURY TRIAL - 14
         Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 15 of 26



     environment, thus depriving Peterson of equal access to the educational benefits of the

     university.

  101.       Defendants’ actions, inactions, and deliberate indifference subjected Peterson to

     further discrimination and harassment including, but not limited to, Defendants’

     inappropriate response to the sexual assault of Peterson by Green.

  102.       Specifically, Defendants violated Title IX after the assault of Peterson by

          a. Failing to provide adequate health and/or psychological services to Petersonafter

             she was sexually assaulted and raped or, alternatively, being deliberately

             indifferent thereto;

          b. Failing to provide Peterson with academic assistance and services after she had

             been raped, or, alternatively, being deliberately indifferent thereto;

          c. Failing to provide, offer, recommend, or coordinate adequate counseling for

             Peterson after she had been raped, or, alternatively, being deliberately indifferent

             thereto;

          d. Failing to take reasonable measures to investigate and verify the report of sexual

             assault and abuse of Peterson by Green;

          e. Failing to implement policies and procedures to ensure compliance with Title IX,

             or, alternatively, being deliberately indifferent thereto;

          f. Failing to warn students of the known danger of sexual assault posed by Green;

          g. Failing to take reasonable measures to investigate and verify even after multiple

             reports had been made against Green, or otherwise being deliberately indifferent

             to the reports;




COMPLAINT AND DEMAND FOR JURY TRIAL - 15
         Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 16 of 26



          h. Refusing to enforce its own policies and requirements for students, or,

               alternatively, being deliberately indifferent to the enforcement thereof;

          i. Refusing to enforce its own policies and requirements for athletes, or,

               alternatively, being deliberately indifferent to the enforcement thereof;

          j. Allowing Green to remain a student at Utah State or, alternatively, being

               deliberately indifferent to, despite multiple allegations of sexual assault against

               Green;

          k. Failing to take appropriate action against Green for misconduct in violation of its

               own Student Code after multiple accusations of sexual assault against green, or, in

               the alternative, being deliberately indifferent thereto;

          o.    Failing to take appropriate action against Green for misconduct in violation of its

                own athlete handbook, or, in the alternative, being deliberately indifferent

                thereto;

          p. Enacting and perpetuating an official policy or custom of deliberate indifference

               toward providing adequate training or guidance that is obviously necessary for

               implementation of the recipient’s specific programs and policies, and;

          l. Through other actions, inactions, and deliberate indifference.

  103.         As a direct and proximate result of Defendants’ actions, inactions, and deliberate

     indifference, plaintiff has suffered severe and ongoing injuries, damages, and losses for

     which she is entitled to be compensated, including but not limited to:

          a. Past, present, and future pain and suffering, both physical and emotional;

          b. Past, present, and future psychological trauma and impairment;

          c. Medical bills and other expenses for past and future treatment;


COMPLAINT AND DEMAND FOR JURY TRIAL - 16
         Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 17 of 26



          d. Interference with continuing education and lost educational time;

          e. Impaired educational capacity;

          f. Impaired earning capacity;

          g. All relief that the Court deems fair and equitable, and;

          h. Attorney’s fees pursuant to 42 USC § 1988(b).

                              COUNT TWO
VIOLATION OF THE EDUCATION AMENDMENTS OF 1972 (TITLE IX), 20 U.S.C. §
   1981 et seq. AS TO MARY HOLLENBAUGH v. DEFENDANTS UTAH STATE
       UNIVERSITY, BOARD OF TRUSTEES, AND BOARD OF REGENTS

  104.       The Plaintiffs reallege all preceding paragraphs as if fully set forth herein and

     incorporates them by reference.

 105. The funding recipients exercised significant control over the harasser, Torrey Green,

     including but not solely through its disciplinary authority over its students through the

     Student Code, its disciplinary authority over student-athletes through the student-athlete

     code of conduct, its policies on sexual harassment, its control of scholarships, and student

     athlete sexual assault and misconduct policies.

  106.       Defendants through their employees and administrators, including but not limited

     to, Jenny Erazo, the SAAVI OFFICE, the USU Title IX Office, USU Resident Assistants,

     and USU dorm supervisors had actual knowledge of sexual assaults perpetrated by

     Torrey Green, actual knowledge of the risk Torrey Green represented to the students of

     USU, and actual knowledge of the hostile environment his presence on campus created.

  107.       Persons at USU with actual knowledge had authority to take remedial action on

     behalf of the recipients.

  108.       By its actions and inactions after these reports were made, Defendants acted with

     deliberate indifference to Hollenbaugh’s right to a safe and secure educational

COMPLAINT AND DEMAND FOR JURY TRIAL - 17
         Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 18 of 26



     environment, thus depriving Hollenbaugh of equal access to the educational benefits of

     the University.

  109.       Defendants’ actions, inactions, and deliberate indifference subjected Hollenbaugh

     to further discrimination, harassment, and deprivation of access to educational

     opportunities including but not limited to, Defendants’ inappropriate response to the

     allegations of sexual assault made by multiple female students.

  110.       Specifically, Defendants violated Title IX after the assault of Hollenbaugh by:

          m. Failing to take reasonable measures to investigate and verify the reports of sexual

             assault and abuse of USU students by Green;

          n. Failing to implement policies and procedures to ensure compliance with Title IX,

             or, alternatively, being deliberately indifferent thereto;

          o. Failing to warn students of the known danger of sexual assault posed by Green;

          p. Failing to take reasonable measures to investigate and verify the report against

             Green before or during Hollenbaugh’s time as a PhD student including, but not

             limited to, reports made by C.D. and V.G.;

          q. Failing to take reasonable measures to investigate and verify even after multiple

             reports had been made against Green by the end of 2015, or otherwise being

             deliberately indifferent to the reports;

          r. Refusing to enforce its own policies and requirements for students, or,

             alternatively, being deliberately indifferent to the enforcement thereof;

          s. Refusing to enforce its own policies and requirements for athletes, or,

             alternatively, being deliberately indifferent to the enforcement thereof;




COMPLAINT AND DEMAND FOR JURY TRIAL - 18
         Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 19 of 26



          t. Allowing Green to remain a student at Utah State University or, alternatively,

               being deliberately indifferent to, despite multiple allegations of sexual assault

               against Green;

          u. Allowing Green to remain a student at Utah State University or, alternatively,

               being deliberately indifferent to such, despite the allegations of sexual assault

               against Green made before and during Ms. Hollenbaugh’s time at USU as a PhD

               student including, but not limited to, reports made by C.D. and V.G.;

          v. Failing to take appropriate action against Green for misconduct in violation of its

               own Student Code after multiple accusations of sexual assault against green, or, in

               the alternative, being deliberately indifferent thereto;

          q.    Failing to take appropriate action against Green for misconduct in violation of its

                own athlete handbook, or, in the alternative, being deliberately indifferent

                thereto;

          r. Enacting and perpetuating an official policy or custom of deliberate indifference

               toward providing adequate training or guidance that is obviously necessary for

               implementation of the recipient’s specific programs and policies, and;

          w. Through other actions, inactions, and deliberate indifference.

  111.         As a direct and proximate result of Defendants’ actions, inactions, and deliberate

     indifference, Hollenbaugh has suffered severe and ongoing injuries, damages, and losses

     for which she is entitled to be compensated, including but not limited to:

          i. Past, present, and future pain and suffering, both physical and emotional;

          j. Past, present, and future psychological trauma and impairment;

          k. Medical bills and other expenses for past and future treatment;


COMPLAINT AND DEMAND FOR JURY TRIAL - 19
         Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 20 of 26



          l. Interference with continuing education and lost educational time;

          m. Inability to access the educational opportunities of USU during from 2014 to the

             planned end date of her program, Spring 2019.

          n. Impaired earning capacity;

          o. All relief that the Court deems fair and equitable, and;

          p. Attorney’s fees pursuant to 42 USC § 1988(b).

                            COUNT THREE
  VIOLATION OF THE CIVIL RIGHTS OF ANNA PETERSON PURSUANT TO 42
             U.S.C. SECTION 1983 et seq. v. ALL DEFENDANTS

  112.       The Plaintiffs reallege all preceding paragraphs as if fully set forth herein and

     incorporates them by reference.

  113.       Ms. Peterson has a clearly established constitutional right under the Equal

     Protection Clause of the 14th Amendment to an educational environment free of sexual

     harassment as well as a clearly established right to bodily integrity.

  114.       The University Defendants, acting under color of law in their official capacity as

     employees of the State of Utah, and with knowledge of these established rights, violated

     Peterson’s right to an educational environment free from sexual harassment and her right

     to bodily integrity.

  115.       Peterson’s rights were violated due to the sexual assault and rape perpetrated

     against her by Green as well as the deliberate indifference to the reports of sexual assault

     made against Green prior to the attack including, but not limited to, reports made by C.D.

     and V.G.

  116.       Peterson’s rights were also violated due to the continued deliberate indifference of

     the Defendants after the assault perpetrated against Peterson, when—upon receiving


COMPLAINT AND DEMAND FOR JURY TRIAL - 20
         Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 21 of 26



     multiple additional reports from students about Green’s sexual assaults—Defendants

     failed to take any action to remedy the risk, failed to remove Green from the campus, and

     continued to facilitate Green’s presence on campus, as well as facilitate Green’s ability to

     use his status as a student at USU and a member of the USU football team to gain the

     trust of female students.

  117.         These actions by Defendants were committed by employees acting pursuant to an

     expressly adopted University policy, employees acting pursuant to a longstanding

     practice or custom, and/or employees themselves responsible for establishing the relevant

     policies.

  118.         Peterson’s rights were further violated when University Defendants failed to

     provide Peterson with adequate counseling and education assistance or accommodations

     to assist her in continuing her education at USU following the assault.

  119.         Additionally, the Defendants’ were deliberately indifferent to the need to provide

     its employees with proper training regarding their legal duty to avoid violating student’s

     rights.

  120.         This is evidenced by a pattern of similar constitutional violations perpetrated on

     USU students by way of Defendants’ failure to properly investigate and take remedial

     action after reports of sexual assault were made against students other than Green.

  121.         This is also evidenced by the pattern of constitutional violations perpetrated by

     way of Defendants’ failure to properly investigate and take remedial action after reports

     of sexual assault were made against Green.




COMPLAINT AND DEMAND FOR JURY TRIAL - 21
         Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 22 of 26



  122.       As a direct and proximate result of Defendants’ actions, inactions, and deliberate

     indifference, Peterson has suffered severe and ongoing injuries, damages, and losses for

     which she is entitled to be compensated, including but not limited to:

          a. Past, present, and future pain and suffering, both physical and emotional;

          b. Past, present, and future psychological trauma and impairment;

          c. Medical bills and other expenses for past and future treatment;

          d. Interference with continuing education and lost educational time;

          e. Impaired educational capacity;

          f. Impaired earning capacity;

          g. All relief that the Court deems fair and equitable, and;

          h. Attorney’s fees pursuant to 42 USC § 1988(b).

                               COUNT FOUR
 VIOLATION OF CIVIL RIGHTS OF ANNA PETERSON PURSUANT TO 42 U.S.C.
  SECTION 1983 et seq. DUE TO CREATION OF DANGER v. ALL DEFENDANTS

  123.       The Plaintiffs reallege all preceding paragraphs as if fully set forth herein and

     incorporates them by reference.

  124.       Peterson has a clearly established constitutional right under the Equal Protection

     Clause of the 14th Amendment to an educational environment free of sexual harassment

     as well as a clearly established right to bodily integrity.

  125.       Defendants, acting under color of law in their official capacity as employees of

     the State of Utah, and with knowledge of these established rights, violated these rights

  126.       Defendants affirmatively created a danger and/or otherwise increased Peterson’s

     vulnerability to a danger by granting Torrey Green admission thus facilitating his

     presence on campus and in Logan.


COMPLAINT AND DEMAND FOR JURY TRIAL - 22
         Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 23 of 26



  127.       Defendants additionally created a danger and/or otherwise increased Peterson’s

     vulnerability to a danger by granting Torrey Green a scholarship to attend USU, thus

     further facilitating his presence on the USU campus and in Logan.

  128.       Defendants further created a danger and/or otherwise increased Peterson’s

     vulnerability to a danger by failing to properly investigate accusations made against

     Green after affirmatively facilitating his presence on the USU campus and in Logan,

     Utah.

  129.       Defendants further created a danger and/or otherwise increased Peterson’s

     vulnerability to a danger by renewing, and otherwise failing to revoke, Green’s

     scholarship and admission to USU at the beginning of each year, even in the face of

     repeated reports accusing Green of sexual assault, facilitating Green’s continued presence

     on campus and in Logan.

  130.       At all relevant times, Peterson was a member of a limited and specifically

     definable group, namely female students at USU.

  131.       The Defendants conduct in actively facilitating a known sexual predator’s

     presence on the USU campus and in Logan, Utah, and implicitly endorsing the behavior

     of a known sexual predator by failing to punish and affirmatively renewing his

     scholarship, put Peterson at substantial risk of serious, immediate, and proximate harm.

  132.       Due to the multiple accusations and evidence given to the Defendants, this risk

     was obvious and known.

  133.       Defendants acted recklessly and in conscious disregard of this risk by failing to

     investigate, punish, or otherwise take action to protect its female students.

  134.       The conduct of Defendants, when viewed in sum, is shocking to the conscience.


COMPLAINT AND DEMAND FOR JURY TRIAL - 23
         Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 24 of 26



  135.          As a direct and proximate result of Defendants’ creation of danger and deliberate

     indifference to it, Peterson suffered a violation of her constitutional right to bodily

     integrity and constitutional right to an education environment free of sexual harassment.

  136.          As a direct and proximate result of Defendants’ actions, inactions, and deliberate

     indifference, Peterson has suffered severe and ongoing injuries, damages, and losses for

     which she is entitled to be compensated, including but not limited to:

            i. Past, present, and future pain and suffering, both physical and emotional;

            j. Past, present, and future psychological trauma and impairment;

            k. Medical bills and other expenses for past and future treatment;

            l. Interference with continuing education and lost educational time;

            m. Impaired educational capacity;

            n. Impaired earning capacity;

            o. All relief that the Court deems fair and equitable, and;

            p. Attorney’s fees pursuant to 42 USC § 1988(b).

                          COUNT FIVE
BREACH OF CONTRACT AS TO ANNA PETERSON v. UTAH STATE UNIVERSITY,
           BOARD OF REGENTS, AND BOARD OF TRUSTEES

  137. The Plaintiffs reallege all preceding paragraphs as if fully set forth herein and

         incorporates them by reference.

  138. The Student Code constitutes an agreement between Utah State University and its

         students and contains the promise that Defendants will properly and appropriately

         respond to reports of sexual assault, violence, and harassment in order to ensure the

         safety of all students.




COMPLAINT AND DEMAND FOR JURY TRIAL - 24
       Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 25 of 26



  139. Defendants breached these provisions by failing to initiate and/or follow procedures and

      guidelines as to the discipline of a sexually violent student who caused harm to Peterson.

  140. As a result of the breach of the agreement, Peterson was battered and sexually assaulted,

      endured physical and psychological trauma, medical bills and expenses, interference

      with continuing her education, an impaired educational capacity, and an impaired

      earning capacity.

  141. Peterson was harmed as a result of said acts and is entitled to damages in an amount to

      be established at trial.

                            COUNT SIX
    BREACH OF CONTRACT AS TO MARY HOLLENBAUGH v. UTAH STATE
      UNIVERSITY, BOARD OF REGENTS, AND BOARD OF TRUSTEES.

  142. The Plaintiffs reallege all preceding paragraphs as if fully set forth herein and

      incorporates them by reference.

  143. The Student Code constitutes an agreement between Utah State University and its

      students and contains the promise that Defendants will properly and appropriately

      respond to reports of sexual assault, violence, and harassment in order to ensure the

      safety of all students.

  144. Defendants breached these provisions by failing to initiate and/or follow procedures and

      guidelines as to the discipline of a sexually violent student on their campus.

  145. As a result of the breach of the agreement, Hollenbaugh endured emotional and

      psychological trauma, interference with continuing her education, an impaired

      educational capacity, and an impaired earning capacity.

  146. Hollenbaugh was harmed as a result of said acts and is entitled to damages in an amount

      to be established at trial.


COMPLAINT AND DEMAND FOR JURY TRIAL - 25
       Case 1:19-cv-00115-EJF Document 2 Filed 10/07/19 Page 26 of 26



      Demand for Jury Trial

  147. The Plaintiffs demand a trial by jury as to all issues permitted under the Seventh

      Amendment of the U.S. Constitution and FRCP 38.

      Prayer for Relief

     WHEREFORE, the Plaintiffs pray for the following relief:

  148. That the Plaintiffs be awarded economic damages in an amount to be determined at trial.

  149. That the Plaintiffs be awarded their attorney's fees and costs as permitted under 42

      U.S.C. § 1988(b) in an amount of not less than $1,000.00 if by default and not less than

      $10,000.00 if not by default, the exact amount to be established at trial or through

      appropriate memoranda and affidavit.

  150. For non-economic damages in an amount to be determined at trial.

  151. For any further relief as this Court deems proper and just.

     DATED this 4th day of October 2019.

                                                           /s/ Diane Pitcher_____________
                                                           Diane Pitcher
                                                           Attorney for Plaintiffs




COMPLAINT AND DEMAND FOR JURY TRIAL - 26
